      Case: 3:10-cr-00163-SA-RP Doc #: 286 Filed: 04/04/19 1 of 1 PageID #: 2608




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

V.                                                  CRIMINAL ACTION NO. 3:10-CR-163-SA-RP-3

STARLET KIZER                                                                                  DEFENDANT

                 ORDER REQUIRING RESPONSE FROM FORMER COUNSEL

        Now before the Court is the Defendant’s pro se Motion to Compel [285] her former counsel

to provide her with a copy of her case file.1 According to the Defendant, she has contacted her

former counsel and requested a copy of her files, but received no response.2 Defendant’s former

counsel, Thomas Levidiotis, is directed to respond to the Defendant’s Motion [285] by filing a

response on the docket by April 12th, 2019.

        It is SO ORDERED, on this the 4th day of April, 2019.


                                                             /s/ Sharion Aycock
                                                            UNITED STATES DISTRICT JUDGE




1
  The Court notes that the Defendant’s requests for post conviction relief have been denied. See Judgment of USCA
[190], Final Judgment Denying Motion to Vacate (2255) [197], USCA Order denying motion to file a successive 2255
[266].
2
  Defendant’s counsel was relieved on August 12, 2015. See USCA Order [213].
